
PER CURIAM.
Upon consideration of the evidence in the record in this contract action we cannot agree with appellants’ cogent argument that there was no jury issue as to whether duress was established as a defense. See Cooper v. Cooper, 69 So.2d 881 (Fla.1954); City of Miami v. Kory, 394 So.2d 494 (Fla. 3d DCA 1981); Corporacion Peruana de Auropuertos y Aviacion Commercial v. Boy, 180 So.2d 503 (Fla. 2d DCA 1965). We do not find merit in appellants’ remaining contentions.
AFFIRMED.
RYDER, C.J., and GRIMES and LE-HAN, JJ., concur.
